Case 2:13-cv-01170-DMG-E Document 373-1 Filed 09/10/21 Page 1 of 29 Page ID
                                #:11569


 1   John Nadolenco (SBN 181128)
     jnadolenco@mayerbrown.com
 2   MAYER BROWN LLP
     350 S. Grand Ave. 25th Floor
 3   Los Angeles, CA 90071
     Tel: (213) 229-9500
 4
     Hans J. Germann (admitted pro
 5   hac vice)
     hgermann@mayerbrown.com
 6   Kyle J. Steinmetz (admitted pro
     hac vice)
 7   ksteinmetz@mayerbrown.com
     MAYER BROWN LLP
 8   71 S. Wacker Drive
     Chicago, IL 60606
 9   Telephone: 312-701-8547
     Facsimile: 312-706-9178
10
     Attorneys for Defendant
11   DIRECTV, LLC
12
13                   UNITED STATES DISTRICT COURT
14                  CENTRAL DISTRICT OF CALIFORNIA
15                             WESTERN DIVISION
16
17    JENNY BROWN and CARMEN               Case No. 2:13-cv-01170-DMG-E
      MONTIJO, on behalf of herself
18    and all others similarly             DIRECTV’s MEMORANDUM IN
      situated,                            SUPPORT OF ITS MOTION TO
19                                         DECERTIFY THE CLASS
                    Plaintiffs,
20
      v.                                   Hearing
21
      DIRECTV, LLC,                        Date: November 5, 2021
22                                         Time: 4:00 p.m.
                    Defendant.             Place: Courtroom 8C
23
                                           Hon. Dolly M. Gee
24
25
26
27
28
                                                    DIRECTV’S MEMO IN SUPPORT OF ITS MOTION TO
                                                     DECERTIFY THE CLASS, CASE NO. 2:13-CV-01170-
      743686122.5
                                                                                          DMG-E
Case 2:13-cv-01170-DMG-E Document 373-1 Filed 09/10/21 Page 2 of 29 Page ID
                                #:11570


 1                                    TABLE OF CONTENTS
 2
                                                                                                     Page
 3
 4   I. INTRODUCTION .................................................................................. 1
 5   II. STANDARD OF REVIEW ................................................................... 2
 6   III. ARGUMENT ....................................................................................... 3
 7         A. Individual inquiries are required because “wrong number”
                 codes do not reliably show a call was made to a non-
 8               customer .................................................................................. 3
                 1.    Testimony from the collection agencies confirms
 9                     “wrong number” codes do not show the agency
                       called a non-customer .................................................... 3
10               2.    The agencies’ call data and expert testimony
11                     confirm the inherent unreliability of “wrong
                       number” codes ................................................................ 7
12               3.    The “wrong number” notations are inadmissible
                       hearsay ......................................................................... 10
13               4.    Other courts have rejected similar attempts to
14                     certify classes based on “wrong number” codes .......... 12
           B. Individual inquiries are needed to determine whether the
15               user of a particular telephone number was not a
                 DIRECTV customer .............................................................. 15
16         C. In light of this evidence, the class should be decertified
17               because individual issues would predominate, and
                 resolving them would be unmanageable .............................. 19
18   IV. CONCLUSION .................................................................................. 22
19
20
21
22
23
24
25
26
27
28

                                                        -i-
Case 2:13-cv-01170-DMG-E Document 373-1 Filed 09/10/21 Page 3 of 29 Page ID
                                #:11571


 1
 2
 3
                                     TABLE OF AUTHORITIES
 4
 5                                                                                                    Page(s)
 6   Cases
 7   ADT Sec. Servs. v. Sec. One Int’l, Inc.,
 8     No. 11-CV-5149 YGR, 2013 WL 4766401 (N.D. Cal. Sept.
       5, 2013)................................................................................................. 11
 9
10   Ashland Hosp. Corp. v. Serv. Emps. Int’l Union,
       708 F.3d 737 (6th Cir. 2013).................................................................. 4
11
12   Bridge v. Credit One Fin.,
       294 F. Supp. 3d 1019 (D. Nev. 2018) ................................................... 15
13
     Brown v. DIRECTV, LLC,
14
       330 F.R.D. 260 (C.D. Cal. 2019) .................................................... 12, 16
15
     Castillo v. Bank of Am., NA,
16     980 F.3d 723 (9th Cir. 2020)................................................................ 20
17
     Davis v. AT&T Corp.,
18     No. 15-cv-2342-DMS (DHB), 2017 WL 1155350 (S.D. Cal.
19     Mar. 28, 2017) ...................................................................................... 13
20   Eisen v. Carlisle and Jacquelin,
21      417 U.S. 156 (1974).............................................................................. 22

22   Gannon v. Network Tel. Servs. Inc.,
       No. CV 12–9777–RGK, 2013 WL 2450199 (C.D. Cal. June
23
       5, 2013), aff’d 628 F. App’x 551 (9th Cir. 2016) .................................. 21
24
     Gen. Tel. Co. of Sw. v. Falcon,
25     457 U.S. 147 (1982)................................................................................ 2
26
     Gutierrez v. Barclays Group, No. 10-cv-1012 DMS (BGS),
27     2011 WL 579238 (S.D. Cal. Feb. 9, 2011) ........................................... 19
28
     Marlo v. UPS Inc.,
       639 F.3d 942 (9th Cir. 2011).................................................................. 3
                                                          -ii-
Case 2:13-cv-01170-DMG-E Document 373-1 Filed 09/10/21 Page 4 of 29 Page ID
                                #:11572


 1                                   TABLE OF AUTHORITIES
 2                                         (continued)
                                                                                           Page
 3   Moore v. Apple Inc.,
 4     309 F.R.D. 532 (N.D. Cal. 2015) .......................................................... 20
 5   Morgan v. Adventist Health System/Sunbelt, Inc.,
 6     No. 6:18-cv-1342-Orl-78DCI, 2020 WL 1674307 (M.D. Fla.
       Jan. 15, 2020)....................................................................................... 15
 7
     Pierce v. County of Orange,
 8
        526 F.3d 1190 (9th Cir. 2008) .............................................................. 22
 9
     Racies v. Quincy Bioscience, LLC,
10     No. 15-cv-00292-HSG, 2020 WL 2113852 (N.D. Cal. May 4,
11     2020)....................................................................................................... 2
12   Revitch v. Citibank, NA,
13     No. C-17-06907 WHA, 2019 WL 1903247 (N.D. Cal. Apr.
       28, 2019) ............................................................................................... 13
14
15   Rowden v. Pac. Parking Sys., Inc.,
       282 F.R.D. 581 (C.D. Cal. 2012), aff’d sub nom. Martin v.
16     Pac. Parking Sys. Inc., 583 F. App’x 803 (9th Cir. 2014).............. 21, 22
17
     Sali v. Corona Reg’l Med. Ctr.,
18     909 F.3d 996 (9th Cir. 2018)............................................................ 2, 12
19   Shimozono v. May Dep’t Stores Co.,
20     No. 00-04261 WJR, 2002 WL 34373490 (C.D. Cal. Nov. 20,
       2002)..................................................................................................... 11
21
22   Sliwa v. Bright House Networks, LLC,
        333 F.R.D. 255 (M.D. Fla. 2019).................................................... 14, 15
23
24   Tillman v. Ally Financial Inc.,
        No. 2:16–cv–313–FtM–99CM, 2017 WL 7194275 (M.D.
25      Fla. Sept. 29, 2017) ........................................................................ 14, 15
26
     Tomeo v. CitiGroup, Inc.,
27     No. 13-C-4046, 2018 WL 4627386 (N.D. Ill. Sept. 27, 2018) .............. 15
28
     Torres v. Mercer Canyons Inc.,
       835 F.3d 1125 (9th Cir. 2016) .............................................................. 20
                                                          -iii-
Case 2:13-cv-01170-DMG-E Document 373-1 Filed 09/10/21 Page 5 of 29 Page ID
                                #:11573


 1                                 TABLE OF AUTHORITIES
 2                                       (continued)
                                                                                                      Page
 3   Trenz v. On-Line Adm’rs, Inc.,
 4     No. 2:15-cv-08356-JLS-KS, 2020 WL 5823565 (C.D. Cal.
       Aug. 10, 2020) .................................................................................... 2, 3
 5
 6   Tyson Foods, Inc. v. Bouaphakeo,
       136 S.Ct. 1036 (2016)........................................................................... 20
 7
     U.S. v. Mitchell,
 8
       49 F.3d 769 (D.C. Cir. 1995) ................................................................ 11
 9
     United States v. Patrick,
10     959 F.2d 991 (D.C. Cir. 1992) .............................................................. 11
11
     United Steel Workers v. ConocoPhillips Co.,
12     593 F.3d 802 (9th Cir. 2010).................................................................. 3
13
     Warnick v. DISH Network LLC,
14     301 F.R.D. 551 (D. Colo. 2014) ............................................................ 19
15   Wilson v. Zapata Off–Shore Co.,
16     939 F.2d 260 (5th Cir. 1991)................................................................ 11
17   Statutes
18
     47 U.S.C. § 227(b)(1) .................................................................................. 4
19
     47 U.S.C. § 227(b)(1)(A) ............................................................................. 4
20
21   Other Authorities

22   2 W. Rubenstein, Newberg on Class Actions § 4:50, pp. 195–
       196 (5th ed. 2012) ................................................................................ 20
23
24   FED. R. CIV. P. 23(b)(3) ................................................................. 19, 20, 22
25   FED. R. CIV. P. 23(c)(1)(C) ........................................................................... 2
26   FED. R. EVID. 803(6).................................................................................. 11
27
     FED. R. EVID. 805 ...................................................................................... 11
28

                                                        -iv-
Case 2:13-cv-01170-DMG-E Document 373-1 Filed 09/10/21 Page 6 of 29 Page ID
                                #:11574


 1                                  TABLE OF AUTHORITIES
 2                                        (continued)
                                                                                                           Page
 3   Rutter Group Prac. Guide Fed. Civ. Trials & Ev. Ch. 8G–E §
 4     8:2691 ................................................................................................... 11
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                          -v-
Case 2:13-cv-01170-DMG-E Document 373-1 Filed 09/10/21 Page 7 of 29 Page ID
                                #:11575


 1                               I.    INTRODUCTION
 2         In 2019, before any significant discovery in the case occurred, the
 3   Court granted class certification based largely upon Plaintiffs’
 4   assurances that discovery would prove the case was amenable to class
 5   treatment. Discovery is now complete, and Plaintiffs’ theory did not pan
 6   out. Instead, discovery confirmed that a central issue in the case—
 7   whether prerecorded calls placed by various collection agencies were
 8   made to DIRECTV customers or to non-customers—requires an
 9   individualized inquiry. As a result, the Court should decertify the class.1
10         In moving for class certification, Plaintiffs asserted that
11   “DIRECTV non-customers can be determined objectively through
12   DIRECTV’s own records,” because “DIRECTV’s vendors maintain call
13   records that require a ‘wrong number’ disposition code for each call that
14   reaches a non-customer.” ECF 223 at 10. Similarly, in their motion for
15   partial summary judgment (ECF 364), Plaintiffs request judgment as to
16   a list of allegedly cellular telephone numbers that the calling debt
17   collection agency had coded as “wrong number.”
18         But apart from the named Plaintiffs, they do not identify a single
19   person who allegedly was not a DIRECTV customer yet received a
20   prerecorded collection call on their cellphone. That is because Plaintiffs
21   have no reliable way of showing that, absent an individualized inquiry.
22   Rather, the evidence shows that Plaintiffs’ fundamental assumption—
23
24   1 Because of the Court’s ruling on DIRECTV’s arbitration motion, the
25   class is currently defined as: “All persons residing within the United
     States who, within four years prior to and filing of this action, received a
26   non-emergency telephone call(s) from DIRECTV and/or its third-party
27   debt collectors regarding a debt alleged owed to DIRECTV, to a cellular
     phone through the use of an artificial or prerecorded voice, and who has
28   not been a DIRECTV customer at any time since October 1, 2004.” ECF
     300.
                                                       DIRECTV’S MEMO IN SUPPORT OF MOTION TO
      743686122.5
                                          -1-                             DECERTIFY THE CLASS
                                                                       CASE NO. 2:13-CV-01170-DMG-E
Case 2:13-cv-01170-DMG-E Document 373-1 Filed 09/10/21 Page 8 of 29 Page ID
                                #:11576


 1   that “wrong number” codes reliably and “objectively” show a non-
 2   customer was called in error—is wrong. The evidence shows that those
 3   codes do not reliably indicate that the collection agency called someone
 4   other than a DIRECTV customer, or indeed called anyone at all (as
 5   opposed to, for example, a disconnected number). And those codes are
 6   inadmissible hearsay.
 7            As a result, determining whether a particular call went to a non-
 8   customer that had not consented to receive such calls requires an
 9   individualized inquiry. Given the many thousands of telephone numbers
10   at issue, those individual inquiries would overwhelm the determination
11   of any common issues. Thus, the Court should decertify the class.
12                     II. STANDARD OF REVIEW
13            A district court retains the power to decertify a class any time
14   “before final judgment.” FED. R. CIV. P. 23(c)(1)(C); Gen. Tel. Co. of Sw. v.
15   Falcon, 457 U.S. 147, 160 (1982) (“[e]ven after a certification order is
16   entered, the judge remains free to modify it in the light of subsequent
17   developments in the litigation”). Further, “the manner and degree of
18   evidence required at the preliminary class certification stage is not the
19   same as at the successive stages of the litigation.” Racies v. Quincy
20   Bioscience, LLC, No. 15-cv-00292-HSG, 2020 WL 2113852, at *2 (N.D.
21   Cal. May 4, 2020) (quoting Sali v. Corona Reg’l Med. Ctr., 909 F.3d 996,
22   1006 (9th Cir. 2018)). In particular, a trial court should decertify a class
23   if, after discovery, additional evidence shows that the requirements for
24   class certification are not met. See, e.g., Trenz v. On-Line Adm’rs, Inc.,
25   No. 2:15-cv-08356-JLS-KS, 2020 WL 5823565, at *5-6 (C.D. Cal. Aug. 10,
26   2020) (decertifying a TCPA class after evidence showed need for
27   individualized inquiries on consent). Even on a motion for
28   decertification, the plaintiff retains the burden to show “that the
                                                    DIRECTV’S MEMO IN SUPPORT OF ITS MOTION TO
      743686122.5
                                            -2-                           DECERTIFY THE CLASS
                                                                   CASE NO. 2:13-CV-01170-DMG-E
Case 2:13-cv-01170-DMG-E Document 373-1 Filed 09/10/21 Page 9 of 29 Page ID
                                #:11577


 1   requirements of Rules 23(a) and (b) are met.” Marlo v. UPS Inc., 639
 2   F.3d 942, 947 (9th Cir. 2011) (quoting United Steel Workers v.
 3   ConocoPhillips Co., 593 F.3d 802, 807 (9th Cir. 2010)); see also Trenz,
 4   2020 WL 5823565, at *5.
 5                                 III. ARGUMENT
 6   A.       Individual inquiries are required because “wrong number”
 7            codes do not reliably show a call was made to a non-
 8            customer.
 9            In seeking class certification, Plaintiffs asserted that “wrong
10   number” disposition codes would “objectively” show calls that reached a
11   non-customer. ECF 223 at 10. See also ECF 258 at 7 (asserting that non-
12   customers “can be readily identified through company records, which
13   clearly identify non-customers with a ‘wrong number’ disposition code”).
14   However, the evidence establishes that these codes cannot be relied
15   upon to identify class members or to reliably prove, without additional,
16   individualized inquiry, that DIRECTV or a collections agency in fact
17   called someone other than a DIRECTV customer. Further, the wrong
18   number response that triggered the notation in the records is
19   inadmissible hearsay.
20
                    1.   Testimony from the collection agencies confirms
21
                         “wrong number” codes do not show the agency
22
                         called a non-customer.
23
24            Plaintiffs assert that “wrong number” codes associated with

25   collections calls necessarily indicate a call went to someone other than

26   the DIRECTV customer who was the intended recipient. From here,

27   Plaintiffs extrapolate that any prerecorded calls to unintended

28   recipients must have been made in violation of the TCPA. But the
                                                     DIRECTV’S MEMO IN SUPPORT OF ITS MOTION TO
      743686122.5
                                            -3-                            DECERTIFY THE CLASS
                                                                    CASE NO. 2:13-CV-01170-DMG-E
Case 2:13-cv-01170-DMG-E Document 373-1 Filed 09/10/21 Page 10 of 29 Page ID
                                 #:11578


 1   evidence exposes multiple fallacies underpinning Plaintiffs’ argument.
 2         First, “wrong number” codes can indicate only that a call was not
 3   completed. For example, iQor’s Senior Vice-President of Technology
 4   explains that while iQor uses a “wrong number” disposition code when
 5   performing collection work on DIRECTV debts, it “does not necessarily
 6   indicate that a call recipient informed our agent that they were not the
 7   actual DIRECTV account holder we were attempting to contact,” but
 8   “can also cover a variety of other situations, including reaching a
 9   disconnected number or other technical failure that prevented a call
10   from connecting to its intended recipient.” Ex. 1 (6/7/21 Kolosovskiy
11   Decl.) ¶¶ 5-6. Neither of these situations could result in a TCPA
12   violation. The pertinent statutory provision refers to “mak[ing] any call .
13   . . using . . . an artificial or prerecorded voice . . . to any telephone
14   number assigned to a . . . cellular telephone service.” 47 U.S.C. §
15   227(b)(1)(A). A disconnected number is not in service, and hence is not
16   assigned to any cellular telephone service.2
17         Plaintiffs have made no attempt to identify “wrong number” calls
18   that went to disconnected numbers or experienced some technical
19   failure, as opposed to calls that were coded “wrong number” based on
20   feedback from the call recipient.
21         Second, “wrong number” codes are unreliable. As iQor’s
22   representative explains, the code is “based on information provided by
23
24   2 In addition, an attempted call that is never connected (because for
25   example the number has been disconnected) does not “us[e] . . . an
     artificial or prerecorded voice,” nor is it even “mak[ing] any call,” as
26   required to establish liability under 47 U.S.C. § 227(b)(1). See Ashland
27   Hosp. Corp. v. Serv. Emps. Int'l Union, 708 F.3d 737, 742 (6th Cir. 2013)
     (“the expression ‘make any call’ . . . require[s] some form of direct
28   telephone communication between two parties”). And, of course, there is
     no wireless user with standing to pursue a claim in such circumstances.
                                                    DIRECTV’S MEMO IN SUPPORT OF ITS MOTION TO
      743686122.5
                                           -4-                            DECERTIFY THE CLASS
                                                                       CASE NO. 2:13-CV-01170-DMG-E
Case 2:13-cv-01170-DMG-E Document 373-1 Filed 09/10/21 Page 11 of 29 Page ID
                                 #:11579


 1   the call recipient,” but “[o]ur company does not conduct any independent
 2   investigation to verify the accuracy of the information provided by the
 3   recipient beyond accepting the information provided by the call
 4   recipient.” Ex. 1 (6/7/21 Kolosovskiy Decl.) ¶ 4. In addition, “even if the
 5   call recipient informed a representative that they were not the account
 6   holder on the call, or otherwise indicated the same automatically, that
 7   information is not necessarily accurate.” Id. ¶ 7. “It is well known in the
 8   collection industry that debtors or consumers will attempt to avoid
 9   talking to agencies collecting on debts that they owe, including by telling
10   the agent or otherwise indicating that they are not the person
11   responsible for the debt or that the agency has reached the wrong
12   number.” Id.
13            Take, for example, the first telephone number listed in Plaintiffs’
14   summary judgment motion as an iQor call: (201) 208-8369, to which
15   iQor placed a call at 13:08 on September 3, 2015 that was coded as
16   “wrong number.” See ECF 367-4 (Pl. Ex. 2). From iQor’s Declaration, we
17   know that this could mean the call failed for some reason, which—as a
18   matter of law—would not be a violation of the TCPA. Alternatively, it
19   could mean the call was answered and the call recipient said they were
20   not the accountholder. Whether or not the call was completed, and the
21   recipient was in fact a DIRECTV customer, could only be determined
22   through an individualized inquiry.
23            This is not an isolated example. Other collections agencies that
24   worked on DIRECTV accounts provided similar testimony. AFNI’s
25   Director of Business Development, James Hess, explained that AFNI’s
26   wrong number codes indicate the customer communicated that AFNI
27   had the wrong person, but AFNI generally would do nothing to
28   independently verify what the consumer said. Ex. 2 (Hess Dep.) at 90-
                                                    DIRECTV’S MEMO IN SUPPORT OF ITS MOTION TO
      743686122.5
                                            -5-                           DECERTIFY THE CLASS
                                                                   CASE NO. 2:13-CV-01170-DMG-E
Case 2:13-cv-01170-DMG-E Document 373-1 Filed 09/10/21 Page 12 of 29 Page ID
                                 #:11580


 1   92. He also testified that in AFNI’s experience there are cases “where
 2   there are consumers who choose to be less than honest,” such as having
 3   “meaningful conversations with them and then a week later it’s not
 4   them or then they after telling us it’s not them . . . [they] call us and
 5   update their records with the number that they just told us wasn’t their
 6   number.” Id. at 91-92. Similarly, TSI’s Manager of Regulatory
 7   Compliance attested that these “codes are based on information
 8   provided by the call recipient,” but “[o]ur company does not conduct any
 9   independent investigation to verify the accuracy of the information
10   provided by the recipient beyond accepting the information provided by
11   the call recipient.” Ex. 3 (July 27, 2021 Podbutzky Decl.) ¶ 4. See also
12   Ex. 4 (Aug. 20, 2021 Rivard Decl.) ¶ 15 (NCI used the wrong number
13   code “to indicate when it reached a number that the recipient indicated
14   was the wrong number” (emphasis added)).
15            Notably, not a single collection agency has testified that it verified
16   the accuracy of a reported “wrong number” before entering that code.
17   Indeed, in some cases that code is not even entered by an agency
18   representative, but instead is simply the result of the call recipient
19   pressing a number within an automated prompt to claim the debt
20   collector reached the wrong person. See Ex. 5 (Feb. 9, 2021 Wilson Decl.)
21   ¶ 40 (“CMI’s IVR prompts allowed a recipient to ‘select the “wrong
22   person” option from the Outbound IVR.’”). The bottom line is this: a
23   collection agency’s use of a “wrong number” code does not necessarily
24   prove a call was made to a non-customer in violation of the TCPA.
25   Instead, an individualized inquiry must be made to make that
26   determination.
27
28
                                                     DIRECTV’S MEMO IN SUPPORT OF ITS MOTION TO
      743686122.5
                                             -6-                           DECERTIFY THE CLASS
                                                                    CASE NO. 2:13-CV-01170-DMG-E
Case 2:13-cv-01170-DMG-E Document 373-1 Filed 09/10/21 Page 13 of 29 Page ID
                                 #:11581


 1                  2.   The agencies’ call data and expert testimony
 2                       confirm the inherent unreliability of “wrong
 3                       number” codes.
 4            The underlying data and expert testimony also demonstrate that
 5   “wrong number” codes are unreliable, making individualized inquiries
 6   necessary.
 7            DIRECTV’s expert, Dr. Debra Aron, analyzed the call data and
 8   identified numerous examples that support the common-sense
 9   conclusion that recipients of debt collection calls sometimes falsely
10   indicate the caller reached the wrong person. In particular, some (but
11   not all) of the call data produced by the collection agencies was not
12   limited to calls resulting in a “wrong number” dispositions, but included
13   calls with other dispositions. For example, the data included dispositions
14   reflecting that the “right party” was reached, such as “good phone” and
15   “right party contact,” and even dispositions indicating payment was
16   made or promised, such as “promise to pay,” “authorized credit cd,” and
17   “credit card by phone.” See Ex. 6 (Aron Report) Ex. 7 (identifying call
18   dispositions by dataset).
19            Dr. Aron found numerous instances where calls to the same
20   telephone number were first coded as “wrong” but later coded as “right”
21   (or vice versa), including codes indicating that the call recipient paid the
22   overdue bill. In other words, the data itself indicates that the caller
23   reached DIRECTV’s customer at the number, and it was in fact not a
24   “wrong number” call at all. See id. at ¶¶ 76-88.
25            By way of a few examples, iQor’s data includes the following
26   showing “wrong” and “right” call dispositions to the same telephone
27
28
                                                   DIRECTV’S MEMO IN SUPPORT OF ITS MOTION TO
      743686122.5
                                           -7-                           DECERTIFY THE CLASS
                                                                  CASE NO. 2:13-CV-01170-DMG-E
Case 2:13-cv-01170-DMG-E Document 373-1 Filed 09/10/21 Page 14 of 29 Page ID
                                 #:11582


 1   numbers:3
 2
 3
 4
 5    phonenumber callstarttime      callendtime          callresultcode   extendedcallresultcode
         2017903280 12/29/2011 9:06 12/29/2011 9:08       WRONG NUMBER
 6       2017903280   1/12/2012 8:29     1/12/2012 8:37   RIGHT PARTY      PAYMENT BALANCE IN FULL
         2022134292    4/7/2017 8:41      4/7/2017 8:42   WRONG NUMBER
 7
         2022134292 5/18/2017 19:03 5/18/2017 19:10       RIGHT PARTY      Trans to Closer
 8       2023612670                                       WRONG NUMBER
         2023612670   3/16/2012 8:50     3/16/2012 8:55   RIGHT PARTY      PAYMENT BALANCE IN FULL
 9       2024455692                                       WRONG NUMBER
         2024455692   4/3/2012 13:40     4/3/2012 13:48   RIGHT PARTY      PAYMENT BALANCE IN FULL
10       2093270238                                       WRONG NUMBER
         2093270238 6/24/2012 18:55 6/24/2012 18:56       RIGHT PARTY      MAILED PAYMENT
11       2173208608   6/2/2016 21:49     6/2/2016 21:50   WRONG NUMBER
         2173208608 5/19/2016 18:52 5/19/2016 19:00       RIGHT PARTY      PAYMENT AND UPDATE CARD
12       2404175877                                       WRONG NUMBER
         2404175877 4/30/2011 13:25 4/30/2011 13:31       RIGHT PARTY      PAYMENT AUTO BILL PAY
13       6162849185                                       WRONG NUMBER
         6162849185   4/11/2012 9:50     4/11/2012 9:57   RIGHT PARTY      PAYMENT BALANCE IN FULL
14       8036296194 12/12/2011 17:04 12/12/2011 17:07     WRONG NUMBER
         8036296194 2/10/2015 12:29 2/10/2015 12:36       RIGHT PARTY      RIGHT PARTY SCHEDULED PAYMENT
15
16
17   CMI’s data similarly includes examples like the following (where

18   according to CMI the code “OIWN” reflects a wrong number disposition,

19   235 indicates a “promise to pay,” 236 indicates “credit card by phone,”

20   237 indicates “check by phone,” and OIXP indicates a transfer to the

21   interactive system for payments):4

22
23
24
25
26
27   3 See Ex. 8 (Germann Decl.). A number of columns from iQor’s data were
28   deleted from this excerpt, in order to fit the page.
     4 See Ex. 8 (Germann Decl.); Ex. 6 (Aron Report) at Ex. 7 (listing codes).
                                                   DIRECTV’S MEMO IN SUPPORT OF ITS MOTION TO
      743686122.5
                                         -8-                             DECERTIFY THE CLASS
                                                                                     CASE NO. 2:13-CV-01170-DMG-E
Case 2:13-cv-01170-DMG-E Document 373-1 Filed 09/10/21 Page 15 of 29 Page ID
                                 #:11583


 1        result_datetime       result_code   directv_acct_num   phone_num
 2        2014-01-10 07:08:55   OIWN          036224107           3369951379
          2013-12-18 12:37:30   236           036224107           3369951379
 3        2013-11-05 13:47:58   OIWN          036304270           8324415095
          2013-10-10 17:52:48   235           036304270           8324415095
 4
          2012-04-02 07:18:59   OIWN          038257765           8645515532
 5        2012-03-25 12:20:36   OIXP          038257765           8645515532
          2011-07-13 10:42:55   OIWN          044380392           5616331692
 6        2011-06-28 09:06:17   236           044380392           5616331692
          2014-01-03 18:56:33   OIWN          081400454           5599605656
 7
          2013-12-28 14:58:42   OIXP          081400454           5599605656
 8        2013-09-02 16:24:36   OIWN          081508622           7736730893
          2013-08-05 09:29:37   235           081508622           7736730893
 9        2013-09-22 12:43:58   OIWN          082610952           2144177708
          2013-07-22 15:07:01   236           082610952           2144177708
10
          2014-02-13 14:30:09   OIWN          082975055           3343995206
11        2013-11-21 16:03:24   237           082975055           3343995206

12         Overall, Dr. Aron found that about 22% of the telephone numbers
13   in iQor’s call data that had a “wrong number” disposition also had at
14   least one call with the disposition “right party.” Ex. 6 (Aron Report) ¶
15   81. More globally, analyzing all of the collection agency call data
16   together, Dr. Aron found that about 13% of the telephone numbers
17   associated with a wrong number code were also associated with at least
18   one “right party” disposition code. Id. ¶¶ 83-84.5 And in more than two-
19   thirds of these cases, the calls with a “right” and with a “wrong”
20   disposition were placed within 90 days of one another. Id. ¶ 85.
21         This demonstrated unreliability holds true even in the case of a
22   particular telephone number that was coded “wrong” but has no earlier
23   or subsequent “right” code. That may only mean, for example, that
24   DIRECTV’s customer or former customer answered one call and said,
25   “that isn’t me,” and never answered another call. Or, as Dr. Aron states,
26
27
     5 This number is conservative, because as noted above not all datasets
     included “right party” dispositions, and others contain ambiguous codes
28   that Dr. Aron did not classify as indicating a right party contact. See id.
     ¶ 84 n.89.
                                                  DIRECTV’S MEMO IN SUPPORT OF ITS MOTION TO
      743686122.5
                                         -9-                            DECERTIFY THE CLASS
                                                                           CASE NO. 2:13-CV-01170-DMG-E
Case 2:13-cv-01170-DMG-E Document 373-1 Filed 09/10/21 Page 16 of 29 Page ID
                                 #:11584


 1   “[c]alled parties who intentionally or unintentionally misled the dialer
 2   or agent into coding the calls as ‘wrong number’ calls would not
 3   necessarily choose to identify themselves on a later or earlier call to
 4   arrange payment or confirm the phone number.” Ex. 6 (Aron Report) ¶
 5   87. The fact that a substantial number of telephone numbers have both
 6   “right” and “wrong” number indications (more than 230,000 telephone
 7   numbers in the iQor data alone, see Ex. 6 (Aron Report) Ex. 6)
 8   establishes that those codes cannot reliably be used to avoid an
 9   individual inquiry to determine which purported wrong number calls in
10   fact reached wrong numbers.
11            In short, the call data and expert testimony confirm the inherent
12   unreliability of “wrong number” codes for class treatment. Instead, an
13   individualized inquiry is necessary to determine whether a TCPA
14   violation occurred.
15                  3.   The “wrong number” notations are inadmissible
16                       hearsay.
17
              The sole evidence Plaintiffs have offered to prove their case on a
18
     class-wide basis—the wrong number codes—is inadmissible hearsay and
19
     must be disregarded. Without this evidence, Plaintiffs cannot carry their
20
     burden of proving the case is amenable to class disposition and the class
21
     must be decertified.
22
              The “wrong number” codes are hearsay within hearsay. That is,
23
     they reflect the assertion of a call recipient (hearsay) within a collection
24
     agency’s call records (more hearsay). Even if a collection agency’s call
25
     records constitute business records, the “wrong number” codes constitute
26
     hearsay within those records that cannot be used to prove the truth of
27
     the matter asserted—that the agency in fact called a wrong number.
28
                                                    DIRECTV’S MEMO IN SUPPORT OF ITS MOTION TO
      743686122.5
                                           - 10 -                         DECERTIFY THE CLASS
                                                                   CASE NO. 2:13-CV-01170-DMG-E
Case 2:13-cv-01170-DMG-E Document 373-1 Filed 09/10/21 Page 17 of 29 Page ID
                                 #:11585


 1            Under Federal Rule of Evidence 805, “Hearsay within hearsay is
 2   not excluded by the rule against hearsay if each part of the combined
 3   statements conforms with an exception to the rule.” (emphasis added)
 4   The assertion of a call recipient that the caller reached a wrong number
 5   does not fall under any exception, including the business record
 6   exception of Rule 803(6).
 7            “‘Rule 803(6) does not cover records based on information obtained
 8   from an outsider’ because such persons have ‘no business duty to report
 9   accurate information to the record preparer and the record therefore
10   “does not have the presumption of accuracy that statements made
11   during the regular course of business have.”’” ADT Sec. Servs. v. Sec.
12   One Int'l, Inc., No. 11-CV-5149 YGR, 2013 WL 4766401, at *3 (N.D. Cal.
13   Sept. 5, 2013) (quoting Rutter Group Prac. Guide Fed. Civ. Trials & Ev.
14   Ch. 8G–E § 8:2691 (quoting Wilson v. Zapata Off–Shore Co., 939 F.2d
15   260, 271 (5th Cir. 1991))). Thus, in ADT, the court concluded that “[w]ith
16   respect to the notes made by the ADT representatives of their calls with
17   former ADT customers, the ultimate issue is whether the customers
18   themselves were acting under some business duty to provide accurate
19   information to the callers from ADT.” 2013 WL 4766401 at *3. Because
20   the customers have no such duty, the court excluded the notes as
21   hearsay. See also, e.g., U.S. v. Mitchell, 49 F.3d 769, 778 (D.C. Cir. 1995)
22   (“If the records contain information obtained from a customer, thus
23   constituting hearsay within hearsay, the information will come within
24   the business records exception only ‘if it is shown that [the business’s]
25   standard practice was to verify the information provided by [the]
26   customer.’” (quoting United States v. Patrick, 959 F.2d 991, 1001 (D.C.
27   Cir. 1992)); Shimozono v. May Dep’t Stores Co., No. 00-04261 WJR
28   (AJWx), 2002 WL 34373490, at *13 (C.D. Cal. Nov. 20, 2002) (excluding
                                                   DIRECTV’S MEMO IN SUPPORT OF ITS MOTION TO
      743686122.5
                                          - 11 -                         DECERTIFY THE CLASS
                                                                  CASE NO. 2:13-CV-01170-DMG-E
Case 2:13-cv-01170-DMG-E Document 373-1 Filed 09/10/21 Page 18 of 29 Page ID
                                 #:11586


 1   customer service response cards as hearsay, because they are
 2   “statements by third parties” and there was no evidence the business
 3   had verified them).
 4            In the class certification order, this Court held that “[a]t this
 5   preliminary stage, the Court need not rule on whether the ‘wrong
 6   number’ notations are admissible evidence in order to consider that
 7   evidence for the purpose of class certification,” noting the Ninth Circuit’s
 8   conclusion that “‘[a]s class certification decisions are generally made
 9   before the close of merits discovery, the court’s analysis is necessarily
10   prospective and subject to change, and there is bound to be some
11   evidentiary uncertainty.” Brown v. DIRECTV, LLC, 330 F.R.D. 260, 274
12   (C.D. Cal. 2019) (quoting Sali, 909 F.3d at 1005). But now merits
13   discovery is complete. There is no longer any such “evidentiary
14   uncertainty”: Plaintiffs’ proposed class action—including their pending
15   motion for partial summary judgment—rests entirely upon inadmissible
16   hearsay to prove the truth of the matter asserted—namely, that
17   DIRECTV or a debt collector in fact called someone other than a
18   DIRECTV customer. But the truth of this assertion necessarily requires
19   an individualized inquiry that is not determinable on a class-wide basis.
20   Because the only evidence Plaintiffs have offered up to try the case on a
21   class-wide basis is unreliable, inadmissible hearsay, the class must be
22   decertified.
23                  4.   Other courts have rejected similar attempts to
24                       certify classes based on “wrong number” codes.
25
              Other courts have noted the unreliability of reported “wrong
26
     numbers,” and hence have refused to certify TCPA classes based upon
27
     the use of such codes.
28
                                                      DIRECTV’S MEMO IN SUPPORT OF ITS MOTION TO
      743686122.5
                                            - 12 -                          DECERTIFY THE CLASS
                                                                     CASE NO. 2:13-CV-01170-DMG-E
Case 2:13-cv-01170-DMG-E Document 373-1 Filed 09/10/21 Page 19 of 29 Page ID
                                 #:11587


 1            For example, in Davis v. AT&T Corp., No. 15-cv-2342-DMS (DHB),
 2   2017 WL 1155350 (S.D. Cal. Mar. 28, 2017), the court rejected a bid to
 3   certify a class where “the call recipient indicated that Defendant had
 4   reached a ‘wrong number’ or similar notation in Defendant’s customer
 5   account records.” Id. at *2. Among other things, the court concluded,
 6   “[t]he parties would still have to go through the ‘wrong number’
 7   notations to determine whether those call recipients were, in fact,
 8   customers of Defendant at or before the time of the calls,” as “Defendant
 9   has come forward with evidence that a call with a ‘wrong number’
10   notation proves nothing because many customers tell callers they have
11   reached the wrong number, though the customer’s number was dialed,
12   as a ‘procrastination tool’ to avoid speaking on the phone.” Id. at *5. In
13   addition, “if Defendant’s customer provided a number belonging to
14   another person, such as a spouse or other family member, an inquiry
15   into that customer's authority to provide consent to call that number
16   would be required.” Id. at *6. “In sum, a complete analysis of the
17   customer status issue would require an inquiry into each call recipient's
18   individual circumstances.” Id.
19            Similarly, in Revitch v. Citibank, NA, No. C-17-06907 WHA, 2019
20   WL 1903247 (N.D. Cal. Apr. 28, 2019), the court denied certification of a
21   putative class based on numbers the caller had flagged as “wrong.” “[A]
22   phone number can be flagged as ‘wrong’ in Citibank’s system even when
23   it is, in fact, the customer’s correct number. For example, an evasive
24   customer may reply with ‘wrong number’ when he answers a call
25   regarding his delinquent account.” Id. at *2. Thus, “the problem is that
26   adjudicating the claims of those who do fall within plaintiff’s proposed
27   class would devolve into the tedious resolution of individualized issues
28   based on individualized evidence.” Id. at *4.
                                                  DIRECTV’S MEMO IN SUPPORT OF ITS MOTION TO
      743686122.5
                                         - 13 -                         DECERTIFY THE CLASS
                                                                 CASE NO. 2:13-CV-01170-DMG-E
Case 2:13-cv-01170-DMG-E Document 373-1 Filed 09/10/21 Page 20 of 29 Page ID
                                 #:11588


 1            Likewise, in Tillman v. Ally Financial Inc., No. 2:16–cv–313–FtM–
 2   99CM, 2017 WL 7194275 (M.D. Fla. Sept. 29, 2017), the court declined
 3   to certify a similar proposed class. Much like the case here, Ally involved
 4   debt collections calls, some of which allegedly went to wrong numbers
 5   based on notations in Ally’s call records. Id. at *2. The court explained
 6   that there is “a wide variety of circumstances under which the free form
 7   notes ‘wrong number’ and ‘do not call’ may be entered into Ally’s system
 8   that have nothing to do with the validity of the underlying phone
 9   number,” “[n]or do the notes mean that consent is lacking.” Id. at *7.
10   “Indeed, defendant has offered evidence that in the debt collection
11   industry ‘wrong number’ oftentimes does not mean non-consent because
12   many customers tell agents they have reached the wrong number,
13   though the correct number was called, as a way to avoid further debt
14   collection.” Id. “Thus, ‘wrong number’ and ‘do not call’ notations are
15   insufficient to establish on a class-wide basis without individualized
16   inquiry that defendant made a call to a number in violation of the
17   TCPA.” Id.
18            In Sliwa v. Bright House Networks, LLC, 333 F.R.D. 255 (M.D. Fla.
19   2019), the court also refused to certify a class involving prerecorded debt
20   collection calls that allegedly included “wrong number” calls. While
21   plaintiff relied upon “BP” (“bad phone”) call disposition codes, the court
22   noted the evidence of “other reasons a number may be assigned a BP
23   Code,” and concluded the case “would require individualized inquiries as
24   to why each phone number was assigned a BP Code.” Id. at 271. In
25   addition, the court “recognized that ‘in the debt collection industry
26   “wrong number” oftentimes does not mean non-consent because many
27   customers tell agents they have reached the wrong number, though the
28   correct number was called, as a way to avoid further debt collection.’” Id.
                                                   DIRECTV’S MEMO IN SUPPORT OF ITS MOTION TO
      743686122.5
                                          - 14 -                         DECERTIFY THE CLASS
                                                                  CASE NO. 2:13-CV-01170-DMG-E
Case 2:13-cv-01170-DMG-E Document 373-1 Filed 09/10/21 Page 21 of 29 Page ID
                                 #:11589


 1   at 271-72 (quoting Tillman, 2017 WL 7194275, at *7).
 2            Indeed—as here—records indicated that Bright House “received
 3   payments on past-due accounts associated with cell phone numbers . . .
 4   ‘shortly after a bad phone code appeared . . . .’” Id. Thus, “[d]etermining
 5   whether these BP Codes indicated a wrong number was called can only
 6   be resolved on an individual basis.” Id. See also Tomeo v. CitiGroup,
 7   Inc., No. 13-C-4046, 2018 WL 4627386, at *9-*10 (N.D. Ill. Sept. 27,
 8   2018) (refusing to certify TCPA class based on “wrong number”
 9   notations, in part because of the significant number of inaccurate
10   “wrong number” records); Bridge v. Credit One Fin., 294 F. Supp. 3d
11   1019, 1040 (D. Nev. 2018) (refusing to certify TCPA class relating to
12   debt collection calls, and finding “that the necessity of an individual
13   inquiry to determine consent is further established by Credit One’s
14   records that some of its ‘wrong number’ reports are inaccurate”); Morgan
15   v. Adventist Health System/Sunbelt, Inc., No. 6:18-cv-1342-Orl-78DCI,
16   2020 WL 1674307, *1-3 (M.D. Fla. Jan. 15, 2020) (denying certification
17   of class based on wrong number notations because, “[s]imply put, the
18   notation of ‘wrong number’ . . . in Defendants’ records does not equate to
19   a showing of lack of consent.”).
20            The courts in these cases all concluded there is no reliable way to
21   determine, without individualized inquiry, whether an individual was
22   mistakenly reached at a wrong number, and hence denied class
23   certification. The evidence in this case compels the same conclusion.
24   B.       Individual inquiries are needed to determine whether the
25            user of a particular telephone number was not a DIRECTV
26            customer.
27
              In 2019, without the benefit of any significant evidentiary record,
28
                                                    DIRECTV’S MEMO IN SUPPORT OF ITS MOTION TO
      743686122.5
                                           - 15 -                         DECERTIFY THE CLASS
                                                                   CASE NO. 2:13-CV-01170-DMG-E
Case 2:13-cv-01170-DMG-E Document 373-1 Filed 09/10/21 Page 22 of 29 Page ID
                                 #:11590


 1   the Court concluded “that the identification of Class and Subclass
 2   members does not require an individualized inquiry.” Brown, 330 F.R.D.
 3   at 273. But after three years of extensive discovery, Plaintiffs have yet
 4   to identify any class members apart from the two named plaintiffs. That
 5   is because the evidence shows they cannot identify class members—i.e.,
 6   persons who used a particular telephone number yet were not a
 7   DIRECTV customer—without individualized inquiries.
 8         The proceedings, discovery, and expert analysis since 2019 have
 9   demonstrated the need for an individualized inquiry to identify a call
10   recipient. For example, for purposes of class notice, the notice
11   administrator (Angeion) used reverse look-up data to attempt to identify
12   the names and addresses of users of telephone numbers associated with
13   “wrong number” codes, over timeframes corresponding to the calls.
14   However, in most cases this returned no name and address information.
15   Ex. 6 (Aron Report) ¶ 96. In other cases, it returned no information for
16   the time of the call in question. Id. ¶ 103. And in many cases where
17   information was found, Angeion found multiple names and multiple
18   addresses associated with a single number. Id. ¶¶ 97-102. Thus, as one
19   example, the “class list” included twelve name/address combinations for
20   a single telephone number that was called by iQor in 2012 and DCI in
21   2013. Id. ¶¶ 99, 104. This data plainly cannot be used to establish who
22   the user of a number was at a particular time.6
23         Plaintiffs also subpoenaed account information from three major
24   wireless carriers. For a number of reasons, this data does not establish
25
     6 More generally, as Dr. Aron explains, historical reverse-lookup
26   information is unreliable and contains a material proportion of errors.
27   Ex. 6 (Aron Report) ¶¶ 106-111. Indeed, Lexis-Nexis (the data vendor
     used by Angeion) discloses that its reports may contain errors, may be
28   inaccurate, and that it does not warrant the correctness or completeness
     of its data. Id. ¶ 108.
                                                 DIRECTV’S MEMO IN SUPPORT OF ITS MOTION TO
      743686122.5
                                        - 16 -                         DECERTIFY THE CLASS
                                                                     CASE NO. 2:13-CV-01170-DMG-E
Case 2:13-cv-01170-DMG-E Document 373-1 Filed 09/10/21 Page 23 of 29 Page ID
                                 #:11591


 1   who the user of a number was at a particular time.
 2         First, the data is incomplete, as those three carriers do not account
 3   for all wireless services/cellular telephone numbers. For example, while
 4   AT&T Mobility and Verizon account for about 68% of wireless
 5   connections in the U.S., only 37% of the numbers that Plaintiffs’ expert
 6   (Ms. Peters-Stasiewicz) identifies as wireless numbers associated with a
 7   wrong number code appear in the AT&T Mobility and Verizon data. Ex.
 8   7 (Supp. Aron Report) ¶¶ 18, 23.7
 9         Second, even where the carriers did have data, in many cases it
10   contains no identifiable customer name, but merely identifies the line as
11   “pre-paid,” or assigned to some “re-seller” of wireless services, or
12   contains a business name. In the AT&T Mobility data, for example, at
13   least about 12,000 numbers lacked any identifiable individual name in
14   the account information, and nearly 9,000 numbers (at least) in the
15   Verizon data lacked any identifiable individual name in the account
16   information. See Ex. 7 (Supp. Aron Report) ¶¶ 15, 34, 46.8
17         Third, even where the carriers were able to supply an individual’s
18   name from their customer records, that does not show who the actual
19   user of the line was at the time of a collections call (or any other time).
20   In some cases, the wireless carrier data may not correspond to the time
21   of the alleged “wrong number” collections call. See Ex. 7 (Supp. Aron
22   Report) ¶¶ 19-21. Further, both AT&T and Verizon have testified that
23   they do not require a wireless account owner to identify the persons who
24
25   7 T-Mobile also produced data on August 24, 2021, but Dr. Aron did not
26   have sufficient time to analyze that data before submitting her August
     27 report. See id. ¶ 23.
27   8 These numbers are understated because they are based on a

28   programmatic review for multiple instances of text string, while it would
     take a manual review to identify every instance. See id. ¶ 30.
                                                 DIRECTV’S MEMO IN SUPPORT OF ITS MOTION TO
      743686122.5
                                        - 17 -                         DECERTIFY THE CLASS
                                                                     CASE NO. 2:13-CV-01170-DMG-E
Case 2:13-cv-01170-DMG-E Document 373-1 Filed 09/10/21 Page 24 of 29 Page ID
                                 #:11592


 1   may use a phone number. See Ex. 7 (Supp. Aron Report) ¶¶ 27, 52. T-
 2   Mobile has testified to the same. See Ex. 6 (Aron Report) ¶ 144. And
 3   even if the account owner chooses to supply a name, the carriers do not
 4   verify that information or have any way of determining whether it is the
 5   actual user. Ex. 7 (Supp. Aron Report) ¶¶ 27, 52. In addition, the data
 6   does not indicate which phone numbers are part of multi-line plans (id.
 7   ¶ 53), though most wireless subscribers are on multi-line plans (Ex. 6
 8   (Aron Report) ¶ 141).
 9            In other words, knowing that Verizon’s data shows “John Smith”
10   was the account owner of a particular number (for example) does not
11   establish that John Smith was the user of that number, or whether he
12   was merely the account-holder on a multi-line plan, or whether the user
13   was (for example) someone in his household who may be the DIRECTV
14   customer of record. See Ex. 6 (Aron Report) ¶¶ 138-140. Determining
15   that would require an individualized inquiry of the wireless account
16   owner, the DIRECTV customer the call was intended to reach, or both.
17            More generally, putting aside the fact that neither reverse look-up
18   data nor wireless carrier data reliably identify who the actual user of a
19   wireless number was, even attempting to match names between that
20   data and DIRECTV’s customer data cannot be reliably resolved without
21   undertaking individual inquiry. See Ex. 6 (Aron Report) ¶¶ 112-134. Dr.
22   Aron identifies a number of types of ambiguities she has seen in
23   attempting to match names across data sets, such as where an apparent
24   nickname is used in one data set, or middle initials differ, or one set has
25   a name with a slightly different (perhaps mistaken) spelling, or the
26   names may be reversed (James Roberts or Robert James), or one set has
27   only an initial listed for a first name, or last names and addresses match
28   but first names differ, or names match but addresses differ, etc. See id. ¶
                                                    DIRECTV’S MEMO IN SUPPORT OF ITS MOTION TO
      743686122.5
                                           - 18 -                         DECERTIFY THE CLASS
                                                                   CASE NO. 2:13-CV-01170-DMG-E
Case 2:13-cv-01170-DMG-E Document 373-1 Filed 09/10/21 Page 25 of 29 Page ID
                                 #:11593


 1   114. And, of course, such a matching process would not establish
 2   whether two people with different names are nevertheless associated
 3   with one another, such as a spouse or other household member on a
 4   family plan. See id. ¶ 127.
 5            For similar reasons, in Warnick v. DISH Network LLC, 301 F.R.D.
 6   551, 557 (D. Colo. 2014), the court refused to certify a class of persons
 7   called by DISH “who were either not a DISH customer or who previously
 8   asked DISH to cease making such calls through a suppression request,”
 9   as reflected in DISH’s records. As the court noted, “there are many
10   different scenarios in which the numbers provided to [DISH] may have
11   been associated with someone other than the named account,” such as
12   households that subscribe to video service “under one named account
13   holder for a family, friends, or roommates, all of whom may have
14   provided consent to be called.” Id. at 558-59. See also Gutierrez v.
15   Barclays Group, No. 10-cv-1012 DMS (BGS), 2011 WL 579238, at *3
16   (S.D. Cal. Feb. 9, 2011) (husband can provide consent for subscriber
17   wife, if she “possessed common authority over or other sufficient
18   relationship to the” phone).
19   C.       In light of this evidence, the class should be decertified
20            because individual issues would predominate, and
21            resolving them would be unmanageable.
22
              The evidence compels the conclusion that individual questions
23
     would predominate over common ones, making class certification
24
     inappropriate. See FED. R. CIV. P. 23(b)(3) (requiring “that the questions
25
     of law or fact common to class members predominate over any questions
26
     affecting only individual members”).
27
              “The predominance inquiry ‘asks whether the common,
28
                                                   DIRECTV’S MEMO IN SUPPORT OF ITS MOTION TO
      743686122.5
                                          - 19 -                         DECERTIFY THE CLASS
                                                                  CASE NO. 2:13-CV-01170-DMG-E
Case 2:13-cv-01170-DMG-E Document 373-1 Filed 09/10/21 Page 26 of 29 Page ID
                                 #:11594


 1   aggregation-enabling, issues in the case are more prevalent or important
 2   than the non-common, aggregation-defeating, individual issues.’” Tyson
 3   Foods, Inc. v. Bouaphakeo, 136 S.Ct. 1036, 1045 (2016) (quoting 2 W.
 4   Rubenstein, Newberg on Class Actions § 4:50, pp. 195–196 (5th ed.
 5   2012). “An individual question is one where ‘members of a proposed
 6   class will need to present evidence that varies from member to member,’
 7   while a common question is one where ‘the same evidence will suffice for
 8   each member to make a prima facie showing [or] the issue is susceptible
 9   to generalized, class-wide proof.” Id. (quoting 2 W. Rubenstein, Newberg
10   on Class Actions § 4:50, at 196–197 (internal quotation marks omitted)).
11            As demonstrated above, the “common” evidence Plaintiffs rely on
12   here—wrong number disposition codes—is both unreliable and
13   inadmissible to show a call did not reach its intended recipient, namely
14   DIRECTV’s customer or former customer. Instead, only an individual
15   inquiry, using individualized evidence, could establish whether a
16   particular call went to a non-customer.
17            In addition, “[t]o ensure that common questions predominate over
18   individual ones, the court must ‘ensure that the class is not defined so
19   broadly as to include a great number of members who for some reason
20   could not have been harmed by the defendant’s allegedly unlawful
21   conduct.’” Castillo v. Bank of Am., NA, 980 F.3d 723, 730 (9th Cir. 2020)
22   (quoting Torres v. Mercer Canyons Inc., 835 F.3d 1125, 1138 (9th Cir.
23   2016) (citation omitted)). “If many class members have no claim
24   whatsoever because they ‘were never exposed to the challenged conduct
25   to begin with,’ the class does not satisfy Rule 23(b)(3).” Id. (quoting
26   Torres, 835 F.3d at 1136). See also Moore v. Apple Inc., 309 F.R.D. 532,
27   542 (N.D. Cal. 2015) (“The inclusion of class members whom, by
28   definition, could not have been injured is . . . indicative of the
                                                   DIRECTV’S MEMO IN SUPPORT OF ITS MOTION TO
      743686122.5
                                          - 20 -                         DECERTIFY THE CLASS
                                                                  CASE NO. 2:13-CV-01170-DMG-E
Case 2:13-cv-01170-DMG-E Document 373-1 Filed 09/10/21 Page 27 of 29 Page ID
                                 #:11595


 1   individualized inquiries that would be necessary to determine whether a
 2   class member has suffered any injury in the first place.”).
 3            While the class here is nominally defined in terms of non-
 4   customers, Plaintiffs’ motion for partial summary judgment makes clear
 5   that they are using wrong number dispositions codes as a proxy to
 6   identify the purported calls to class members and to make a merits
 7   determination regarding liability on a class-wide basis. But, as
 8   explained above, those calls include a significant number of persons who
 9   were DIRECTV customers and acted accordingly (e.g., made a payment).
10   For example, Dr. Aron found that about 22% of the telephone numbers
11   in iQor’s call data that had a “wrong number” disposition also had at
12   least one call with the disposition “right party.” Ex. 6 (Aron Report) ¶
13   81. As to the remaining telephone numbers, only an individual inquiry
14   based on individual evidence could establish whether the call recipient
15   was a DIRECTV customer.
16            Finally, because common issues would not predominate, a class
17   action would not be superior to other methods for fairly and efficiently
18   adjudicating the controversy. See Gannon v. Network Tel. Servs. Inc.,
19   No. CV 12–9777–RGK (PJWx), 2013 WL 2450199, at *3-4 (C.D. Cal.
20   June 5, 2013), aff’d 628 F. App’x 551 (9th Cir. 2016) (holding in a TCPA
21   case that “because Plaintiff fails to satisfy the predominance
22   requirement”, in light of the individual inquiries needed “‘to determine
23   who received’ unauthorized text messages and thus, who is a class
24   member”, “the Court finds a class action would not be superior to other
25   methods for fairly and efficiently adjudicating the controversy”).
26            “In evaluating superiority, the court must consider the likely
27   difficulties in managing the case, specifically ‘the whole range of
28   practical problems that may render the class action format
                                                    DIRECTV’S MEMO IN SUPPORT OF ITS MOTION TO
      743686122.5
                                           - 21 -                         DECERTIFY THE CLASS
                                                                   CASE NO. 2:13-CV-01170-DMG-E
Case 2:13-cv-01170-DMG-E Document 373-1 Filed 09/10/21 Page 28 of 29 Page ID
                                 #:11596


 1   inappropriate for a particular suit.’” Rowden v. Pac. Parking Sys., Inc.,
 2   282 F.R.D. 581, 584–85 (C.D. Cal. 2012), aff'd sub nom. Martin v. Pac.
 3   Parking Sys. Inc., 583 F. App'x 803 (9th Cir. 2014) (quoting Eisen v.
 4   Carlisle and Jacquelin, 417 U.S. 156, 164 (1974)). “One such
 5   manageability concern is a court’s ability to clearly define and ascertain
 6   the contours of the proposed class.” Id. Where “it appears from the
 7   record that there is no administratively feasible manner to determine a[]
 8   central criterion of class membership,” the court appropriately denies
 9   certification. Martin, 583 F. App’x at 804.
10            Here, “wrong number” notations cannot be used to identify class
11   members, for all the reasons explained above. The class thus should be
12   decertified. See Pierce v. County of Orange, 526 F.3d 1190, 1200 (9th Cir.
13   2008) (concluding that the district court did not abuse its discretion in
14   decertifying a class because “Rule 23(b)(3) would not offer a superior
15   method for fair and efficient adjudication in light of expected difficulties
16   identifying class members”).9
17                           IV. CONCLUSION
18            For the reasons explained above, the Court should decertify the
19   class.
20
21
22
23
24
25
26
27
     9 “The superiority of a class action also depends on the existence of a
     realistic alternative to class litigation.” Rowden, 282 F.R.D. at 585.
28   There is no question that individual TCPA suits are a realistic
     alternative—indeed they are common.
                                                    DIRECTV’S MEMO IN SUPPORT OF ITS MOTION TO
      743686122.5
                                           - 22 -                         DECERTIFY THE CLASS
                                                                       CASE NO. 2:13-CV-01170-DMG-E
Case 2:13-cv-01170-DMG-E Document 373-1 Filed 09/10/21 Page 29 of 29 Page ID
                                 #:11597


 1
      Dated: September 10, 2021             Respectfully submitted,
 2
                                            MAYER BROWN LLP
 3
                                            By: /s/ Hans J. Germann
 4
                                            Hans J. Germann
 5                                          Attorneys for Defendant
                                            DIRECTV, LLC
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                  DIRECTV’S MEMO IN SUPPORT OF ITS MOTION TO
      743686122.5
                                         - 23 -                         DECERTIFY THE CLASS
                                                                 CASE NO. 2:13-CV-01170-DMG-E
